         Case 1:15-cv-07199-JMF Document 93 Filed 03/22/17 Page 1 of 4



                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                                                    :
 GARY KOOPMANN, TIMOTHY KIDD and
                                                    :
 VICTOR PIRNIK, Individually and on Behalf of
                                                    :    No. 15 Civ. 7199 (JMF)
 All Others Similarly Situated,
                                                    :
                              Plaintiffs,           :
                                                    :
                         v.                         :
                                                    :
 FIAT CHRYSLER AUTOMOBILES N.V.,                    :
 SERGIO MARCHIONNE, RICHARD K.                      :
 PALMER, and SCOTT KUNSELMAN,                       :
                                                    :
                              Defendants.           :
                                                    :


                  DECLARATION OF JOSHUA S. LEVY
           IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
THE EMISSIONS-RELATED CLAIMS FROM THE THIRD AMENDED COMPLAINT

              I, Joshua S. Levy, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

              1.     I am a member of the bar of this Court and am associated with the law

firm of Sullivan & Cromwell LLP, counsel for Defendants Fiat Chrysler Automobiles N.V.

(“FCA NV”), Sergio Marchionne, Richard K. Palmer and Scott Kunselman (collectively,

“Defendants”) in the above-captioned action.

              2.     I respectfully submit this Declaration to provide the Court with certain

materials cited in the Memorandum in Support of Defendants’ Motion to Dismiss the Emissions-

Related Claims from the Third Amended Complaint.

              3.     Attached hereto as Exhibit 1 is a true and correct copy of the Third

Amended Complaint in this action, dated February 22, 2017. (ECF No. 69.)

              4.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts from a

report by the German Federal Ministry of Transport and Digital Infrastructure entitled “Report
         Case 1:15-cv-07199-JMF Document 93 Filed 03/22/17 Page 2 of 4



by the ‘Volkswagen’ Commission of Inquiry,” dated May 2016, which is also available at

http://www.bmvi.de/SharedDocs/EN/publications/bericht-untersuchungskommission-

volkswagen.html?nn=188294.

              5.      Attached hereto as Exhibit 3 is a true and correct copy of a Fortune article,

entitled Now Germany Is Accusing FIAT of Running Dirty Diesels, dated May 23, 2016, which is

also available at http://fortune.com/2016/05/23/germany-fiat-diesel-emissions-ban/.

              6.      Attached hereto as Exhibit 4 is a true and correct copy of the Notice of

Violation (“NOV”) that the Environmental Protection Agency (“EPA”) issued to FCA NV and

FCA US LLC (“FCA US”), dated January 12, 2017.

              7.      Attached hereto as Exhibit 5 is a true and correct copy of the NOV issued

by the California Air Resources Board to FCA NV and FCA US, dated January 12, 2017.

              8.      Attached hereto as Exhibit 6 is a true and correct copy of excerpts from

FCA NV’s filing with the Securities Exchange Commission (“SEC”) on Form F-1/A, dated

November 13, 2014.

              9.      Attached hereto as Exhibit 7 is a true and correct copy of excerpts from

FCA NV’s filing with the SEC on Form 20-F, dated March 5, 2015.

              10.     Attached hereto as Exhibit 8 is a true and correct copy of excerpts from

FCA NV’s filing with the SEC on Form F-4, dated May 19, 2015.

              11.     Attached hereto as Exhibit 9 is a true and correct copy of excerpts from

FCA NV’s filing with the SEC on Form 424B3, dated June 17, 2015.

              12.     Attached hereto as Exhibit 10 is a true and correct copy of excerpts from

FCA NV’s filing with the SEC on Form 20-F, dated February 29, 2016.




                                               -2-
         Case 1:15-cv-07199-JMF Document 93 Filed 03/22/17 Page 3 of 4



              13.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts from

FCA NV’s Annual Report for 2015, dated February 29, 2016.

              14.     Attached hereto as Exhibit 12 is a true and correct copy of the NOV issued

by the EPA to Volkswagen AG, Audi AG and Volkswagen Group of America, Inc., dated

September 18, 2015.

              15.     Attached hereto as Exhibit 13 is a true and correct copy of a Reuters

article entitled Fiat Chrysler U.S. Says Its Cars Do Not Use Any Defeat Devices, dated

September 22, 2015, which is also available at http://www.reuters.com/article/us-fiatchrysler-us-

defeatdevices-idUSKCN0RM1MK20150922/.

              16.     Attached hereto as Exhibit 14 is a true and correct copy of the transcript of

FCA NV’s January 27, 2016 earnings call.

              17.     Attached hereto as Exhibit 15 is a true and correct copy of the transcript of

FCA NV’s October 28, 2015 earnings call.

              18.     Attached hereto as Exhibit 16 is a true and correct copy of an Automotive

News article entitled Fiat Chrysler Shares Fall on Report of German Sales Ban Threat, dated

May 23, 2016, which is also available at http://www.autonews.com/article/20160523/

COPY01/305239936/fiat-chrysler-shares-fall-on-report-of-german-sales-ban-threat/.




                                               -3-
           Case 1:15-cv-07199-JMF Document 93 Filed 03/22/17 Page 4 of 4



               19.    Attached hereto as Exhibit 17 is a true and correct copy of a webpage

operated      by       Robert        Bosch        GmbH         at       http://www.bosch.us/en/us/

our_company_1/business_sectors_and_divisions_1/diesel_systems_1/diesel-systems.html.



               I declare under penalty of perjury that the foregoing is true and correct.

               Executed this 22nd day of March 2017 in New York, New York.



                                                             /s/ Joshua S. Levy
                                                             Joshua S. Levy




                                                -4-
